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Exhibit C

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To: Staff @ TER[staff@theeroticreview.com]

From: Carl Ferrer

Sent: Tue 10/9/2007 6:44:17 PM

Subject: RE: RE: Here is our stuff (to Dave)

Analytics backpage.com, 20070930-2007 1006 (ContentByTitleReport).pdf

Hey Dave,
The developers tell me they are working on it this week. Sorry for it
taking so long. It is my top priority.

Attached is a report of a users that actually clicked the sponsor ad to
read more. Do you know what kind of referrals you are tracking from me?

RE: other site reviews

That's a double "ugh...ugh" for us being a user generated content site.
We should talk some more on the phone on this one.

Are you going to the PubCon in Las Vegas in December?
http:/Avww.pubcon.com/

Carl

>>> "Staff @ TER" <staff@theeroticreview.com> 10/9/2007 4:16 AM >>>
Any luck getting the placement of our ad corrected or the problem with
other review sights advertising on your site conflicting with our

reciprocal link program?

Please advise,

David

From: Carl Ferrer [mailto:Carl.Ferrer@backpage.com]
Sent: Wed 9/26/2007 8:00 PM

To: Micah Killough

Cc: Staff @ TER

Subject: Fwd: RE: Here is our stuff (to Dave)

Hey Dave,
This ad looks great.

Hey Micah,
Please schedule this ad nationally as a sponsor ad. Go ahead and use
staff@theeroticreview.com email address for the poster.

Once done, please send me a link. | need to schedule with the
developers to anchor this sponsor ad as first ad on the upper right.

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Carl

